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       In the United States Court of Federal Claims
                                           No. 00-705 C

                                     (Filed: August 10, 2007)
                                            __________

 THE BOEING COMPANY,

                        Plaintiff,

         v.

 THE UNITED STATES,

                        Defendant.
                                           __________

                                            ORDER
                                           __________


        On July 23, 2007, plaintiff filed a motion for leave to file the transcripts of the
deposition testimony of several potential witnesses, pursuant to RCFC 15(b). On August
9, 2007, defendant filed its objection to plaintiff’s motion. Plaintiff has not indicated why
it has been unable to procure the attendance of the witnesses by subpoena, pursuant to
RCFC 32(a)(3)(D), nor the court does not believe that it is in the interest of justice to
allow the deposition testimony to be used, pursuant to RCFC 32(a)(3)(E)(ii).
Accordingly, plaintiff’s motion is hereby DENIED.

       If necessary, the court is prepared to receive oral testimony at a second location, in
addition to Washington, D.C., and will consider a request to that effect upon receipt of an
appropriate motion from one or both parties.

       IT IS SO ORDERED.



                                                      s/ Francis M. Allegra
                                                      Francis M. Allegra
                                                      Judge
